                 Case 2:24-cv-01349-NR Document 29-3 Filed 10/07/24 Page 1 of 4


Everhart, Ian

From:               ST, Elections
Sent:               Tuesday, July 30, 2024 5:01 PM
To:                 geraldinetunstalle@gmail.com
Cc:                 team@cornelwest2024.com
Subject:            Pending Notice: Tunstalle Candidate Affidavit
Attachments:        Tunstalle_Affidavit.pdf; Tunstalle_Pending Notice.pdf; PB 2024 Political Body Candidate's Affidavit.pdf


Dear Geraldine Tunstalle:

A ached please find the following:
    A photocopy of your candidate aﬃdavit that my oﬃce received in the mail;
    A pending no ce related to this aﬃdavit issued today by my oﬃce; and
    A blank candidate aﬃdavit, for your convenience.

If you have any ques ons, you can contact my staﬀ member Ben Feldman at (717) 265‐7634.

Jessica Mathis
Director, Bureau of Elec ons




                                                            1
                 Case 2:24-cv-01349-NR Document 29-3 Filed 10/07/24 Page 2 of 4


Everhart, Ian

From:               ST, Elections
Sent:               Tuesday, July 30, 2024 4:57 PM
To:                 nikkikelleykleinberg@gmail.com
Cc:                 team@cornelwest2024.com
Subject:            Pending Notice: Kleinberg Candidate Affidavit
Attachments:        Kleinberg_Affidavit.pdf; Kleinberg_Pending Notice.pdf; PB 2024 Political Body Candidate's
                    Affidavit.pdf


Dear Nicole Kleinberg:

A ached please find the following:
    A photocopy of your candidate aﬃdavit that my oﬃce received in the mail;
    A pending no ce related to this aﬃdavit issued today by my oﬃce; and
    A blank candidate aﬃdavit, for your convenience.

If you have any ques ons, you can contact my staﬀ member Ben Feldman at (717) 265‐7634.

Jessica Mathis
Director, Bureau of Elec ons




                                                           1
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     Date: July 30, 2024


     Geraldine Tunstalle
     2929 Webster Avenue
     Pittsburgh, PA 15219

     Dear Geraldine Tunstalle:

     On July 30, 2024 this office received your candidate’s affidavit for the office of
     Presidential Elector, Justice for All Political Body. However, the affidavit you submitted
     did not list your Municipality (City, Boro, or Township). A blank candidate’s affidavit is
     attached for your use.


     A valid candidate’s affidavit must be received by this office no later than 5:00 P.M.,
     Thursday, August 1st, 2024 to accept the paperwork provided by the Justice for All
     Political Body.



                                                           Sincerely,




                                                           Jessica Mathis
                                                           Director, Bureau of Elections


     Attachment


     ACKNOWLEDGED BY: _________________________________________


     Papers Pending – Affidavit


                                       Bureau of Elections
210 North Office Building | 401 North Street | Harrisburg, PA 17120 | 717.787.5280 | Fax 717.705.0721
                                         www.dos.pa.gov
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     Date: July 30, 2024


     Nicole Kleinberg
     5327 Baynton Street
     Philadelphia, PA 19144

     Dear Nicole Kleinberg:

     On July 30, 2024 this office received your candidate’s affidavit for the office of
     Presidential Elector, Justice for All Political Body. However, the affidavit you submitted
     did not correctly list your Election District of Candidate (district where registered to vote).
     A blank candidate’s affidavit is attached for your use.


     A valid candidate’s affidavit must be received by this office no later than 5:00 P.M.,
     Thursday, August 1st, 2024 to accept the paperwork provided by the Justice for All
     Political Body.



                                                            Sincerely,




                                                            Jessica Mathis
                                                            Director, Bureau of Elections


     Attachment


     ACKNOWLEDGED BY: _________________________________________


     Papers Pending – Affidavit



                                       Bureau of Elections
210 North Office Building | 401 North Street | Harrisburg, PA 17120 | 717.787.5280 | Fax 717.705.0721
                                         www.dos.pa.gov
